                                                                               Case 3:07-cv-05944-JST Document 1243 Filed 06/28/12 Page 1 of 1




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                                                                          5                      IN THE UNITED STATES DISTRICT COURT
                                                                          6                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                               IN RE: CATHODE RAY TUBE (CRT)            ) MDL No. 1917
                                                                          8    ANTITRUST LITIGATION                     )
                                                                                                                        ) Case No. C-07-5944-SC
                                                                          9                                             )
                                                                                                                        ) ORDER VACATING HEARING
                                                                         10    This Order Relates To:                   )
United States District Court
                               For the Northern District of California




                                                                                                                        )
                                                                         11      DIRECT PURCHASER CLASS ACTION          )
                                                                                 CASES                                  )
                                                                         12                                             )
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                                                                         14        The hearing set for Friday, August 10, 2012 at 10:00 a.m.,
                                                                         15   pursuant to the Court's Scheduling Order of June 26, 2012 (ECF No.
                                                                         16   1240), is hereby VACATED.     The parties' briefs are due on Tuesday,
                                                                         17   July 24, 2012.    Pursuant to Civil Local Rule 7-1(b), the matter
                                                                         18   will be determined without oral argument.
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                                                                         20        IT IS SO ORDERED.
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                                                                         22        Dated:   June 28, 2012
                                                                                                                   UNITED STATES DISTRICT JUDGE
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